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  March 6, 2024

  BY CM/ECF

  The Honorable Gregory B. Williams
  U.S. District Court Judge
  U.S. District Court for Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street, Unit 26
  Room 6124
  Wilmington, DE 19801

  Re:     Nokia Technologies Oy v. HP, Inc.
          Civil Action No. 23-1237-GBW

  Dear Judge Williams:

  Pursuant to D.Del. LR 7.1.4, Defendant HP, Inc. respectfully requests oral argument on
  Plaintiff Nokia Technologies Oy’s Motion To Dismiss Defendant/Counterclaimant HP,
  Inc.’s Counterclaims (D.I. 18).

  Briefing on the motion is complete, and the parties’ submissions may be found at docket
  items 18, 19, 20, and 22.

  Respectfully submitted,

  /s/ John V. Gorman

  John V. Gorman (#6599)

  JVG/lmg


  cc:     Counsel of Record (By CM/ECF)




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